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                      UNITED STATES DISTRICT COURT
                                           for the
                                 Western District of Kentucky
                                  Bowling Green Division

Timothy L. Gaddie                             )
      Plaintiff                               )
                                              )
v.                                            )      Case No.        1:17-cv-00034-GNS
                                              )
Harvest Credit Management VII, LLC            )
      Defendant                               )
                                              )

           PLAINTIFF’S STATUS REPORT AND NOTICE OF SETTLEMENT

       Comes the Plaintiff, Timothy L. Gaddie, by and through undersigned counsel, and in

response to this Court’s Order of April 4, 2018 [DE 11] files this Status Report and Notice of

Settlement.

       Plaintiff, Timothy L. Gaddie, has reached a settlement with Defendant Harvest Credit

Management VII, LLC in this matter. Once the settlement is final, the parties will file a joint

dismissal with prejudice.


                                      Respectfully submitted,

                                      /s/ James R. McKenzie
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                                      Counsel for Plaintiff
                                      Timothy L. Gaddie



                                CERTIFICATE OF SERVICE

       This is to certify that I filed the foregoing via the Court’s CM/ECF system on this 5th day
of April, 2018, which will send a Notice of Electronic Filing to all counsel of record.

                                      /s/ James R. McKenzie
                                      Counsel for Plaintiff
                                      Timothy L. Gaddie




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